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EXHIBIT C

 

Page 1

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

CONSTANCE COLLINS,

SOUTHERN DIVISION

x * * * & kk k *

et al., *

Plaintiffs * Case No.

vs. * 1:20-cv-01225
TRI-STATE ZOOLOGICAL PARK *
OF WESTERN MARYLAND, *

INC., et al.,

Defendants

DEPOSITION OF
ROBERT CANDY

August 11, 2021

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DEPOSITION
OF

ROBERT CANDY, taken on behalf of the Plaintiffs herein,
pursuant to the Rules of Civil Procedure, taken before
me, the undersigned, Bernadette M. Black, a Court
Reporter and Notary Public in and for the State of
Maryland, at the Hampton Inn Cumberland, 109 Welton
Drive, Cumberland, Maryland, on Wednesday, August 11,

2021 beginning at 10:58 a.m.

 

 

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A P PE ARAN C E 5

ZEYNEP GRAVES, ESQUIRE

JAMES ERSELIUS, ESQUIRE

CAITLIN HAWKS, ESQUIRE (Via Zoom)
PETA Foundation

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ATTORNEY

Young

 

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STIPULATION
(It is hereby stipulated and agreed by and between
counsel for the respective parties that reading,
Signing, sealing, certification and filing are

waived. }

ROBERT L. CANDY,
CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND
HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS

FOLLOWS :

ATTORNEY GRAVES:

Thank you. My name is Zeynep Graves,
and I’m counsel for People for the Ethical Treatment
of Animals, Ince. and Connie Collins. I’m joined by
my co-counsel in person, James Erselius, who is also
counsel for Plaintiffs. I'm also joined by our co-
counsel, Caitlin Hawks, who is joining via Zoom. Mr.
Young, would you like to introduce yourself for the
record?

ATTORNEY YOUNG:

Yes. This is Nevin Young for all

 

 

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Defendants. I’m having a little --- it’s not that I
--- the volume level’s a little low, but it keeps
breaking off, and it was doing yesterday, too. It
Just --- the audio keeps interrupting like there’s
some sort of static or interference. So just to you
know that, if I say what, that’s because probably

something got messed up. All right.

So let’s go ahead.

EXAMINATION

BY ATTORNEY GRAVES:

Q. Mr. Candy, please state your full name for the
record.

A. Robert L. Candy.

Q. And can you spell your name, please?

A. R-O-B-E-R-T, L, period, C-A-N-D-Y.

Q. The same rules that applied to your deposition
last month will apply here. So your answers will be
given under oath, subject to penalty of perjury, the
same as if you’re testifying in court. Do you
understand?

A. Yes, I do.

Q. And your responses to my questions must be

verbal. Nodding or shaking your head is not

 

 

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Because sometimes being in the front window in the
summer is great. You got a nice glass window, get
some sun, and even though it’s refracted. In the
wintertime, having a big window in front of it, the
glass gets cold. So it might not be as good for them
in that same area.

Q. So are the iguanas housed in a different
enclosure in the winter?

A. We haven’t had those iguanas long. They were in
a different enclosure before. They were in another
area within the zoo. But we moved them over so that
we felt that was a bigger area for them.

Q. Will they be moved this winter?

A. Probably not because we have added some more
lighting to the area and better heating for the area.
Q. And how about the reticulated python? Will he be
moved in the winter?

A. He’ll probably stay in the same area, even though

he was originally in an area across the building from

him. It’s a taller area. He seemed to like it, but
he seems to like this one a little bit more. This is
his first time he’s been in there. We had an
anaconda in that area before. And so this is

something new for the retic to see how he goes.

There’s a lot of empty cages that can be used or

 

 

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utilized in the area.

Q. Are any dietary changes made for any of the other
Species at the zoo to meet differing metabolic
requirements throughout the year?

A. Depending on what their animal is, whether it’s a
hibernation animal and not. Raccoons don’t
hibernate, we have the opossums, they don’t
hibernate. They might slow down, so you always want
to see if they go into the sleeping mode more, but
not a true hibernation mode. You don’t want to
overfeed any animal in the wintertime. Hopefully,
they fattened up before the winter. So you want them
--- so the winter is to use that body fat. So it’s a
matter of just understanding the animal. For
instance, outside the fox, it’s an artic fox mix.
He’s finding the winter and their housing is all
designed for them for warmth or ---.

Q. I’m just asking if Tri-State makes any dietary
changes for any of the animals?

A. That’s what I’m saying we do if it’s needed.

Q. Okay.

So what changes are made for those animals?

A. Like I said, if they go into a hibernation or
don’t go into a hibernation, we have to decrease the

amount of food or add --- you know, change the food

 

 

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that they’re eating so they don’t overeat things that
they shouldn’t during the wintertime, if they’re
going to go into a hibernation mode or sleep mode or
Slow down mode. We want them to be as natural as
they can about using their bodies as they’re supposed
to, as the natural body use of fats and storage.
Q. And Dodger had severe frostbite and had to get 16
digits partially amputated.

Correct?
A. He was diagnosed with frostbite and he did have
--- or treated as if it were frostbite. So we assume
it was frostbite, and he did have the tips of his
fingers amputated on. I’m not sure how many.
Q. And do you know what heat sources were in
Dodgers’ enclosure at that time?
A. His house was heated. This wasn’t caused from an
indoor enclosure. This was probably caused from him
going outdoors for whatever reason he went out. dHe’d
been there for nine years and never had a problem.
What we’re finding is --- and we do --- we
investigate every time something happens. And the
only thing we can come up with is he started reacting
more to people going back and filling the woodstove
behind his area.

So he would start coming out and trying to see

 

 

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people. And, you know, the other thing we would see
is Dodger had a --- has a habit of putting his
fingers in his mouth and going into the cold air and
grabbing the metal fence. We don’t have any way to
prove that. We don’t --- we theorize what it could
be because we don’t want it to happen again. Never
had a problem with it before. So unfortunately,
that’s one of those things that it happened and then
he tried to hide it so you don’t know until you find
it.

Q. And have you made any changes to Dodger’s
enclosures since his digits were amputated?

A. Actually, we did. We actually added new doors on
the front of it so that he has to go through
sectioned areas so that wind can’t go in. We can
close off that area. So, now, if it gets toa

certain temperature, we automatically just lock him

in now. We don’t let him have that choice of going
out. He’s got --- he gets locked in.

Q@. Did you locked him in last year at all?

A. Yes.

Q. And when did you all lock them in?

A. When the temperature went down below 30.

Q. And how many occasions did you lock him in?

A. I don’t know. I mean, the temperature --- we

 

 

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have to go and see when the temperature went below
30. A number of temperatures.

Q@. So you locked him in after the temperature dips
below 30?

A. No, we usually lock him in when they call for it.

Usually it’s a nighttime lock-in. During the day

when the sun’s out, it’s very rare. But if it’s
summer --- if it’s a day where it is cold outside,
the sun actually keeps him warmer. But we try to
still --- again if it’s below 30, usually we’ll lock

him in this back area.

Q. What time of year is Spazz no longer allowed
outdoors?

A. Same thing, when it starts getting cold, usually
around October, it starts getting chilly up here in
Cumberland. It varies per year. We’ve had snow in
November. We had 70 degrees in November. So what we
do with Spazz is we’ll lock him in. We usually lock
his area in, lock him in in --- usually it’s around
October. But he’s also allowed out. If we have
weekends where it’s 70 degrees or 60 degrees, we open
it back up so he can come out during the day.

Q. Have you spoken with Dr. Gold since July 22nd,
2021?

A. July 22nd? I’m sure I have. yes. Yeah. Yes,

 

 

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I did, because I took Rocket.

You took Rocket to get ---?

For his rabies shot.

Was Rocket neutered at that time?
He was due.

Was he neutered?

Yes. Yes, he was.

oF OP OP

But do you have records of his rabies shot and
the neutered procedure?

A. That would be with the new stuff I got, which I
can get to you if you want, ---

Oo. Yes.

A. --- which wasn’t included in all the old stuff.
Q@. Did you discuss anything else with Dr. Gold?

A. Didn’t have a whole lot of time with him there.
We took a kitten there, also, just for him to check
out because people dropped cats off. And this is a
black one that was concerned that --- somebody had
adopted and brought back to us at the zoo and just
they didn’t ---. I don’t know what they did to it.
It looked like it had a claw that had gone into its
foot. I think your people actually looked at it
while they were there. So I took that kitten there
and he got treated, rabies shot --- I think he got a

rabies shot, too. But pretty much, I think, just

 

 

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--- it’s uric acid is what it is. And it comes out
in --- I don’t want to say a pellet form, but it’s

some form that’s a little bit harder than others,
depending on what they ate, but nothing out of the
usual.

Q. When was Abigail acquired?

A. Abigail, the alligator?

Q. Yeah. When did you acquire the alligator,
Abigail?

A. I believe she was acquired last --- either last
year or the year before.

Q. And can you describe her condition when you
acquired her?

A. She didn’t seem me as bad as I thought she was
going to be. She was brought up to us supposedly ---
I think it was the Baltimore Zoo, had Darcy Bowen
bring her up to us. Not actually Baltimore Zoo,
probably Bill Walters or so. She’s supposedly
confiscated, the couple got divorced and had a heated
divorce. And supposedly she had been soaked in
bleach, but she was already treated before she
brought up and they just needed a home for her.

Q. So had she already been suffering from sores when
you received her?

A. She was suffering from a lot of things when we

 

 

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got her. She’s not suffering from sores now. She
Just wasn’t in the best of shape from the way they
treated her.

Q. Okay.

So you said that they had treated her before they

brought her up to you?

A. I’m sure they did. They came from a vet’s
office.

Q. Did she have sores on her when you received her?
A. I don’t --- I don’t remember.

Q. And how did Rocket suffer a degloving injury?

A. How did who do what?

Q. How did Rocket suffer from a degloving injury?
A. We don’t really know how he did it. All we know

is we can theorize how he did it. We think from
digging down underneath the surface of where you ---
that was new. He was only with us for --- actually
in his outside enclosure for a week or two at that
point. So it was a new area for him. His area has
fencing underneath the ground about a foot down. So
all we can think is that he dug down because it was
right here on his leg --- that he dug down, that he
pulled it out and got stuck on the fencing.

Q. But you don’t know for sure how he injured

himself.

 

 

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A. We don’t really know for sure. We just --- you
know, sometimes you just don’t know. But you get it

treated.

Q. Were you considering releasing Bedbug?

A. Yes.

Q. Why?

A. He was just a opossum that was caught and wasn’t
really on exhibit, just a opossum that we had at the
zoo that was just a --- not a friendly opossum, just
what you --- you couldn’t use for shows or programs
or anything. We don’t need to keep opossums in the
zoo. I got people that see opossums around here
every day. So if there’s something wrong with them,
that’s one thing. But if it’s just a opossum, they
can be released. We've released a number of opossums
over the years. That’s fine.

Q. And how were you planning on releasing Bedbug?

A. Usually we just take him out to the property,
usually on the golf course, on the property that way,
if they want to live at the zoo, they can live there,
but they’re good to have around. Opossums are great.
They don’t carry rabies. They don’t ---. But
they’re great for eating ticks and things. So they
make themselves at home within zoo property

somewhere. It’s perfectly fine. But usually that’s

 

 

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